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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. 11-402-BAT

10          v.                                           DETENTION ORDER

11 VOLODYMYR MAHERAMOV,

12                                Defendant.

13 Offense charged:

14          Use of Altered Passport.

15 Date of Detention Hearing: August 30, 2011.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant immigrated to this country in 2005. He is not a citizen and has strong ties and

23 relatives that live in the Ukraine. There is no immigration detainer on him and would thus be



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 1 free to leave the country and return to the Ukraine. He has no ties here and no employment here.

 2 He traveled instead thousands of miles from Chicago to this district where he last lived. There is

 3 little information as to where he would live in Chicago and most of the information he provided

 4 the pretrial office is unverified.

 5          It is therefore ORDERED:

 6          (1)     Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11          (3)     On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15          (4)     The clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18       DATED this 30th day of August, 2011.

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21
                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
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     DETENTION ORDER - 2
